FILED IN_OPEA CQURT

ON

JHC Dennis/P. lavarone, Clerk
US District Court
Eastern District of NC
UNITED STATES DISTRICT COURT

FOR THE LASTERN DISTRICT OF NORTH CAROLINA
EASTERN DIVISION

No. BOD SY-/E|

UNITED STATES OF AMERICA

}
)
Vv. ) INDICTMENT
)
)

DONALD SCOTT

The Grand Jury charges that:

On or about September 22, 2005, in the Eastern District of
North Carolina, DONALD SCOTT, defendant herein, having been
convicted of a crime punishable by imprisonment for a term
exceeding one year, did knowingly possess, in and affecting
commerce, firearms, in violation of Title 18, United States Code,
Sections 9$22(g)(1) and 924,

A TRUE BILL

GEORGE E. B. HOLDING
United States Attorney

LaTa Vo

: N H. COWLEY
Ssist@nt United States Atto

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